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13
                               UNITED STATES DISTRICT COURT
14                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
16    THERESA SWEET, et al.,
                                                                No. 3:19-cv-03674-WHA
17                        Plaintiffs,
18           v.
19                                                              STIPULATED REQUEST TO CORRECT
      MIGUEL CARDONA, in his official capacity                  TECHNICAL ERRORS IN EXHIBIT C TO
20    as Secretary of Education, and the UNITED                 PROPOSED SETTLEMENT
      STATES DEPARTMENT OF EDUCATION                            AGREEMENT
21
                          Defendants.
22
23
24          The Parties hereby submit this stipulated request to correct a small number of technical
25   errors in Exhibit C to their proposed settlement agreement, see ECF No. 246-1 (“Proposed
26   Agreement”). In support of this request, the parties state as follows:
27          1.      On August 4, 2022, the Court granted the parties’ joint motion and preliminarily
28   approved the parties’ Proposed Agreement as fair, reasonable and adequate for class members.


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 1   ECF No. 307. The Court further directed the parties to notify class members of the proposed
 2   settlement on specified terms. See ECF No. 315.
 3          2.        One provision of the Proposed Agreement provides for the Department to provide
 4   certain relief to class members who attended “the schools, programs, and School Groups listed in
 5   Exhibit C hereto.” Proposed Agreement ¶ IV.A.1. Exhibit C consists of a list of 49 owners or
 6   ownership groups and 153 associated school or brand names. See id., Ex. C.
 7          3.        The Department of Education (“Department”) has recently identified a handful of
 8   minor technical errors in Exhibit C that the parties agree should be corrected.
 9          4.        First, the Department proposes to remove four institutions that were erroneously
10   included on the list based on clerical errors. Specifically, the Department proposes to remove ATI
11   College, Missouri College of Cosmetology North, Hallmark University, and International
12   Technical Institute from Exhibit C. The Department also proposes to add Missouri College, which
13   is owned by Career Education Corporation (already on Exhibit C), and was the school that the
14   Department intended to include when it inadvertently listed Missouri College of Cosmetology
15   North instead.
16          5.        Second, the Department proposes to make changes to the nomenclature of several
17   of the listed schools. These changes do not affect the composition of the list, but merely reflect
18   more accurate titles of the relevant ownership groups and school/brand names. Accordingly, the
19   Department proposes to change:
20                   The school owner for “Berkeley College” from “Berkeley College (NY)” to
21                    “Berkeley Educ. Serv. of NY, Inc.”;
22                   The school owner for “Computer Systems Institute” (previously listed as a
23                    school/brand name) to “BEZ Corporation”;
24                   The school owner for American Career Institute from “David Pyle” to “The Career
25                    Institute LLC”;
26                   The school owner DeVry to “DeVry/Adtalem”;
27
28


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 1                   The school owner for “Institute for Health Education” and “Micropower Career
 2                    Institute” from “Premier Education Group L.P.” to “Lalit Chabria, Sam
 3                    Hiranandaney”;
 4                   The school owner for “Star Career Academy” from “Star Career Academy” to “SC
 5                    Academy Holding, Inc.”
 6          6.        These proposed changes to the Exhibit C list do not substantively affect the terms
 7   of the Proposed Agreement and are designed merely to ensure that the list accurately reflects the
 8   parties’ intended composition and accurately identifies each listed entity. Plaintiffs agree to the
 9   Department’s proposal to make these changes.
10          7.        The Proposed Agreement provides that “after the Preliminary Approval Date”—
11   i.e., August 4, 2022—the agreement, including its exhibits, “may be modified only with the written
12   agreement of all the Parties and with the approval of the Court, upon such notice to the Class, if
13   any, as the Court may require.” Proposed Agreement ¶ XV.B.
14          8.        The parties submit as an exhibit hereto a corrected version of the Exhibit C list.
15   The parties respectfully request that the Court grant their agreed-upon request to modify the
16   Proposed Agreement by replacing the original version of Exhibit C with the attached corrected
17   version.
18          9.        Notice has not yet been sent to the class. However, in order to meet the August 19,
19   2022 deadline specified in the Court’s August 9, 2022 order, ECF No. 315, the Department will
20   need to finalize the class notice—which includes a copy of Exhibit C to the Proposed Agreement—
21   by no later than 5 pm ET on August 10, 2022.1 If the Court does not grant this stipulation by that
22   time, the Department will not be able to email the corrected version of Exhibit C to the class by
23   August 19, 2022, and will instead need to send the original, uncorrected version. In that event, the
24   parties respectfully submit that they be permitted to notify the class of the technical changes to
25   Exhibit C by updating their respective websites to make the corrected version of Exhibit C publicly
26   available and without sending further individualized notice to each class member. The parties
27   1
      The Department is working with federal contractors to send the class notice and the relevant
28   contracts require the Department to provide these contractors notice at least six business days in
     advance of any changes to the class notice.

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 1   propose to make the necessary updates to their respective websites as promptly as feasible upon
 2   the Court’s approval of this stipulated request. The parties respectfully submit that no additional
 3   notice to the class is needed at this time.
 4           10.     In the alternative, should the Court determine that posting the revised notice to the
 5   parties’ respective websites is not sufficient and that further individualized notice of the technical
 6   corrections to Exhibit C is needed, the parties respectfully request that the Court allow Defendants
 7   a minimum of seven business days after any order approving this stipulation to send additional
 8   email notice of the corrected Exhibit C to class members.
 9           11.     The Parties submit the attached [Proposed] Order, and stipulate and agree to its
10   entry, subject to the Court’s approval.
11
12   Dated: August 9, 2022                                     Respectfully submitted,
13    /s/ Rebecca C. Ellis                                     BRIAN D. NETTER
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